                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

 UNITED STATES OF AMERICA                             )
                                                      )      Case No. 1:02-CR-27
 vs.                                                  )
                                                      )
 COREY ROBINSON                                       )      JUDGE COLLIER


                                 MEMORANDUM AND ORDER

        The defendant appeared for a hearing before the undersigned on July 7, 2009, in accordance
 with Rule 32.1 of the Federal Rules of Criminal Procedure on the Petition for Warrant for Offender
 Under Supervision of U.S. Probation Officer Daniel Haimelin and the Warrant for Arrest issued by
 Chief U.S. District Judge Curtis L. Collier. Those present for the hearing included:

                (1) AUSA Gary Humble for the USA.
                (2) Defendant COREY ROBINSON.
                (3) Attorney Anthony Martinez for defendant.
                (4) Courtroom Deputy Kelli Jones.

         After being sworn in due form of law the defendant was informed or reminded of his
 privilege against self-incrimination accorded him under the 5th Amendment to the United States
 Constitution.

        It was determined the defendant wished to be represented by an attorney and he qualified for
 the appointment of an attorney to represent him at government expense. Attorney Anthony Martinez
 of Federal Defender Services of Eastern Tennessee, Inc. was appointed to represent the defendant.
 It was determined the defendant had been provided with a copy of the Petition for Warrant for
 Offender Under Supervision and the Warrant for Arrest and had the opportunity of reviewing those
 documents with his attorney. It was also determined the defendant was capable of being able to read
 and understand the copy of the aforesaid documents he had been provided.

        Defendant waived his right to a preliminary hearing and detention hearing.

        AUSA Humble moved defendant be detained pending a hearing to determine whether his
 term of supervision should be revoked.

                                              Findings

        (1) Based upon U.S. Probation Officer Danny Haimelin’s petition and defendant’s
        waiver of preliminary hearing and detention hearing, the undersigned finds there is

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       probable cause to believe defendant has committed violations of his conditions of
       supervised release as alleged in the petition.

                                          Conclusions

       It is ORDERED:

       (1) The defendant shall appear in a revocation hearing before Chief U.S. District
       Judge Curtis L. Collier.

       (2) The motion of AUSA Humble that defendant be DETAINED WITHOUT BAIL
       pending his revocation hearing before Judge Collier is GRANTED.

       (3) The U.S. Marshal shall transport defendant to a revocation hearing before Judge
       Collier on Thursday, August 20, 2009, at 2:00 pm.

       ENTER.

       Dated: July 7, 2009                  s/William B. Mitchell Carter
                                            UNITED STATES MAGISTRATE JUDGE




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